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Attorney or Party Name, Address, Telephone & FAX FOR COURT USE ONLY
Nos., State Bar No. & Email Address
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L Individual appearing without attorney
DI Attorney for: Creditor Complete Industrial Repair, Inc.

UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION

In re:
CASE NO.: :23-bk-013864-
TOBY TORRES 2:25-bh-01Sb64-D8
ADVERSARY NO.: 2:23-ap-01426-DS
CHAPTER: 7
Debtor(s).
COMPLETE INDUSTRIAL REPAIR, INC. JOINT STATUS REPORT
[LBR 7016-1(a)(2)]
os DATE: 11/30/2023
Plaintiffs). | tive: 11:30 am
YS; COURTROOM: 1639
TOBY EDWARD TORRES ADDRESS: 255 E. Temple Street, Los Angeles, CA
Defendant(s).

The parties submit the following JOINT STATUS REPORT in accordance with LBR 7016-1(a)(2):

A. PLEADINGS/SERVICE:

1. Have all parties been served with the complaint/counterclaim/cross-claim, etc. IX Yes Oo No
(Claims Documents)?

2. Have all parties filed and served answers to the Claims Documents? [] Yes IX No
3. Have all motions addressed to the Claims Documents been resolved? X Yes |L]No
4. Have counsel met and conferred in compliance with LBR 7026-1? IX] Yes J No

This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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5. If your answer to any of the four preceding questions is anything other than an unqualified “YES,” please
explain below (or on attached page):
Defendant's Motion to Dismiss is pending for hearing on 11/16/23 and Defendant has not yet filed an Answer.

B. READINESS FOR TRIAL:

1. When will you be ready for trial in this case?
Plaintiff Defendant

January, 2024 April, 2024

2. If your answer to the above is more than 4 months after the summons issued in this case, give reasons for further
delay.
Plaintiff Defendant
April, 2024 Motion(s) challenging complaint; completion of
discovery; possible MSJ

3. When do you expect to complete your discovery efforts?
Plaintiff Defendant

Plaintiff needs no further discovery February, 2024

4. What additional discovery do you require to prepare for trial?
Plaintiff Defendant

Plaintiff needs no further discovery Requests for Admission, contention interrogatories and
production documents, depositions of witness(es)
identified in discovery

C. TRIAL TIME:
4. What is your estimate of the time required to present your side of the case at trial (including rebuttal stage if
applicable)?
Plaintiff Defendant
8 hours Unknown pending completion of discovery

2. How many witnesses do you intend to call at trial (including opposing parties)?
Plaintiff Defendant

6-7 Unknown pending completion of discovery

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3. How many exhibits do you anticipate using at trial?

Plaintiff
50-60

D. PRETRIAL CONFERENCE:

Defendant
Unknown pending completion of discovery

A pretrial conference is usually conducted between a week to a month before trial, at which time a pretrial order will
be signed by the court. [See LBR 7016-1.] If you believe that a pre-trial conference is not necessary or appropriate in
this case, please so note below, stating your reasons:

Plaintiff
Pretrial conference |X] is J is not requested
Reasons:
Plaintiff

Pretrial conference should be set after:
(date) 12/31/2023

E. SETTLEMENT:

41. What is the status of settlement efforts?

None to date

2. Has this dispute been formally mediated?
If so, when?

3. Do you want this matter sent to mediation at this time?

Plaintiff

Xx Yes oO No

Defendant
Pretrial conference [4 is (J is not requested
Reasons:

Defendant
Pretrial conference should be set after:
(date)

(J Yes xl No
Defendant
IX Yes [1 No

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F. FINAL JUDGMENT/ORDER:

Any party who contests the bankruptcy court’s authority to enter a final judgment and/or order in this adversary
proceeding must raise its objection below. Failure to select either box below may be deemed consent.

Plaintiff Defendant
[XI | do consent [XI | do consent
| do not consent oO | do not consent
to the bankruptcy court's entry of a final judgment to the bankruptcy court's entry of a final judgment
and/or order in this adversary proceeding. and/or order in this adversary proceeding.

G. ADDITIONAL COMMENTS/RECOMMENDATIONS RE TRIAL: (Use additional page if necessary)

Respectfully submitted,
Date: 11/16/2023 pate AZAD

Marchetti Law Heston & Heston, Attorneys at Law
Printed name of law firm

/s/ Frank E. Marchetti

Signature ~“
Frank E. Marchetti Richard G. Heston

Printed name Printed name

Attorney for: Complete Industrial Repair, Inc. Attorney for: Toby Edward Torres

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